           Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 1 of 26 PageID #:1


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         2/2                                              AUSA LeighAnn M. Thomas (312) 613-9000
             . BRUTO    N
   THOMA.SDG
           IS T R IC T COURT
CLERK, U.S
                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION

     UNITED STATES OF AMERICA
                                                                Case No.: 24CR95
                        v.
                                                                M. DAVID WEISMAN
     HARSHKUMAR RAMANLAL PATEL,                                 Magistrate Judge
     also known as “Dirty Harry”
     also known as “Harry Patel”
     also known as “Param Singh”
     also known as “Haresh Rameshlal Patel”
     also known as “Harshkumar Singh Patel”

                             AFFIDAVIT IN REMOVAL PROCEEDING

               I, DANIEL SCHUTZ, appearing before United States Magistrate Judge M.

    DAVID WEISMAN by telephone and being duly sworn under oath, state that as a

    federal law enforcement officer I have been informed that HARSHKUMAR

    RAMANLAL PATEL, also known as “Dirty Harry,” “Harry Patel,” “Param Singh,”

    “Haresh Rameshlal Patel,” and “Harshkuma Singh Patel”, has been charged by

    Complaint in the United States District Court for the District of Minnesota with the

    following criminal offenses: transportation of an illegal alien, in violation of Title 8,

    United States Code, Sections 1324(a)(1)(A)(ii) and 1324(a)(1)(A)(v)(II) (Count 1) and

    conspiracy to bring and attempt to bring an illegal alien to the United States, in

    violation      of    Title   8,   United   States   Code,   Sections   1324(a)(1)(A)(i)   and

    1324(a)(1)(A)(v)(I) (Count 2).

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     Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 2 of 26 PageID #:2




      A copy of the Complaint is attached. A copy of the arrest warrant also is

attached.


                                                   DANIEL SCHUTZ
                                                   Special Agent
                                                   Homeland Security
                                                   Investigations


SWORN TO AND AFFIRMED by telephone this 22nd day of February, 2024.


                                                   M. DAVID WEISMAN
                                                   United States Magistrate Judge
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 3 of 26 PageID #:3
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 4 of 26 PageID #:4
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 5 of 26 PageID #:5
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 6 of 26 PageID #:6
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 7 of 26 PageID #:7
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 8 of 26 PageID #:8
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 9 of 26 PageID #:9
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 10 of 26 PageID #:10
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 11 of 26 PageID #:11
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 12 of 26 PageID #:12
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 13 of 26 PageID #:13
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 14 of 26 PageID #:14
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 15 of 26 PageID #:15
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 16 of 26 PageID #:16
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 17 of 26 PageID #:17
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 18 of 26 PageID #:18
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 19 of 26 PageID #:19
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 20 of 26 PageID #:20
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 21 of 26 PageID #:21
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 22 of 26 PageID #:22
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 23 of 26 PageID #:23
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 24 of 26 PageID #:24
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 25 of 26 PageID #:25
Case: 1:24-cr-00095 Document #: 1 Filed: 02/22/24 Page 26 of 26 PageID #:26
